
Order, on reargument, adhering to the original decision denying in part the plaintiff’s motion for an examination of defendant before trial on certain issues raised by the amended reply, modified by directing that defendant be examined as to item numbered 22 of the notice of motion, in addition to the items specified in the order appealed from, and by providing that all books, papers and documents shall be produced for the purposes specified in section 296 of the Civil Practice Act. As so modified, the order, in so far as appealed from, is affirmed, with ten dollars costs and disbursements to appellant. The appeal from the original order, dated September 13,1940, is dismissed, without costs. No opinion. Lazansky, P. J., Carswell, Johnston, Adel and Close, JJ., concur.
